Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 1 of 37 Page ID #:5898



 1    Dan Terzian (SBN 283835)
      dterzian@duanemorris.com
 2    DUANE MORRIS LLP
      865 S. Figueroa, Suite 3100
 3    Los Angeles, CA 90017
      Telephone: +1 213.689.7400
 4    Facsimile: +1 213.689.7401
 5    Lawrence H. Pockers (admitted pro hac vice)
      lhpockers@duanemorris.com
 6    Thomas T. Loder (admitted pro hac vice)
      ttloder@duanemorris.com
 7    DUANE MORRIS LLP
      30 South 17th Street
 8    Philadelphia, PA 19103
      Telephone: +1 215.979.1000
 9    Facsimile: +1 215.979.1020
10    Attorneys for Defendants PAUL
      SCHEMBARI; ACP JET CHARTERS, INC.;
11    PHENIX JET INTERNATIONAL, LLC; and
      COSA DI FAMIGLIA HOLDINGS, LLC
12
13
                            IN THE UNITED STATES DISTRICT COURT
14
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
     WESTERN AIR CHARTER, INC., doing                     Case No. 2:17-cv-00420-JGB-KS
16   business as JET EDGE INTERNA-
     TIONAL, a California corporation,                    Hon. Jesus G. Bernal
17
                       Plaintiff,                         DEFENDANTS’ OPPOSITION TO
18                                                        PLAINTIFF WESTERN AIR
              v.                                          CHARTER’S MOTION FOR PAR-
19                                                        TIAL SUMMARY JUDGMENT
     PAUL SCHEMBARI, an individual et al.,
20                                                        Hearing:   September 10, 2018
                       Defendants.                        Time:      9:00 a.m.
21                                                        Judge:     Hon. Jesus G. Bernal
                                                                     Courtroom 1
22                                                                   3470 Twelfth Street
                                                                     Riverside, CA 92501
23
24
25
26
27
28
     DM1\8931253.8                                    i
                     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S M OTION FOR SUM MARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 2 of 37 Page ID #:5899



 1                                             TABLE OF CONTENTS
 2   I.              Introduction ....................................................................................... 1
 3   II.             Jet Edge’s breach of Contract Claim ...................................................... 2
 4          A.       The entire employment agreement is void. ............................................. 2
 5          B.       To the extent certain sections of the employment agreement survive, there
                     are individual legal issues and/or genuine issues of material fact which
 6
                     preclude summary judgment on Jet Edge’s claim for breach of contract. .... 3
 7                   1.    If section 3 of the employment agreement (exclusivity provision) is
 8                         enforceable, there are genuine issues of material fact which preclude
                           summary judgment. ..................................................................... 4
 9
                           a.     Section 3 is void because it violates Business & Professions Code
10                                § 16600. .............................................................................. 4
11                         b.     If section 3 is enforceable, there are genuine issues of material
12                                fact which preclude summary judgment. .................................. 5
                     2.    Even if enforceable, there are genuine issues of material fact regarding
13
                           whether section 6.2 of the employment agreement (restrictions on
14                         Confidential Information) was breached. ........................................ 7
15                         a.     Section 6.2 is void under section 16600 of the Business &
                                  Professions Code.................................................................. 7
16
                           b.     Even if section 6.2 is not void in its entirety, Jet Edge is still not
17                                entitled to summary judgment. ............................................... 8
18                   3.    If section 6.4 (return of Confidential Information) of the employment
19                         agreement is enforceable, there are genuine issues of material fact
                           which preclude summary judgment. ............................................. 13
20
                     4.    If section 7.3 (non-disparagement) of the employment agreement is
21                         enforceable, there are genuine issues of material fact which preclude
22                         summary judgment. ................................................................... 14
                           a.     Section 7.3 is illegal and void under federal law. .................... 14
23
                           b.     There are genuine issues of material fact regarding whether
24                                Schembari violated section 7.3. ............................................ 16
25                   5.    If section 7.4 (prohibition on planning) of the employment agreement
26                         is enforceable, there are genuine issues of material fact which preclude
                           summary judgment. ................................................................... 17
27
            C.       Even if Schembari breached the employment agreement, the breach did not
28                   cause harm to Jet Edge. ..................................................................... 18
     DM1\8931253.8                                              ii
           DEFENDANTS’ OPPOSITION TO PLAINTIFF’S ISO MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 3 of 37 Page ID #:5900



 1   III.            Schembari’s Second Amended Counterclaims ...................................... 20
 2           A.      Jet Edge’s procedural arguments fail. .................................................. 20
 3                   1. Schembari has standing because the claims are based on harms unique
                          to him and not typical of shareholders generally............................. 20
 4
                     2.    The Noerr-Pennington doctrine and litigation privilege do not apply
 5                         here because the counterclaims are not based on litigation activity. .. 22
 6                         a.     Even if the counterclaims are based on litigation activity, the
 7                                Noerr-Pennington doctrine and litigation privilege do not apply
                                  because Jet Edge’s litigation activity is baseless. .................... 23
 8
                     3.    Schembari’s shift in his theory was substantially justified because it
 9                         was not learned until the deposition of Bill Papariella, and it was
                           disclosed immediately thereafter. ................................................. 23
10
                           a.     Schembari seeks leave to add counterclaims for defamation and
11                                breach of contract against Jet Edge and to bring a third-party
12                                claim against Jet Edge CEO Bill Papariella for defamation. ..... 25
13           B.      Jet Edge’s substantive arguments fail................................................... 25
14                   1.    There is a material factual dispute as to whether Jet Edge knew of the
                           relationships with the potential customers. .................................... 25
15
                     2.    Jet Edge committed an independently wrongful act. ....................... 27
16                   3.    The Section 17200 claim is based on Jet Edge’s unlawful act of using
17                         an illegal employment agreement. ................................................ 28
18                   4.    Jet Edge’s conduct harmed Schembari. ......................................... 29
19   IV.             Conclusion....................................................................................... 30
20
21
22
23
24
25
26
27
28
     DM1\8931253.8                                             iii
            DEFENDANTS’ OPPOSITION TO PLAINTIFF’S ISO MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 4 of 37 Page ID #:5901



 1                                        TABLE OF AUTHORITIES
 2   Federal Cases
 3
     Albino v. Baca, 747 F.3d 1162,1176–77 (9th Cir. 2014) (en banc) ........................ 20
 4
     Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986) ........................................... 7
 5
 6   Applied Materials, Inc. v. Advanced Micro-Fabrication Equip.
       (Shanghai) Co., 630 F. Supp. 2d 1084 (N.D. Cal. May 20, 2009) ..................... 21
 7
     Bakst, 2011 WL 13214315 .............................................................................. 15
 8
 9   Benefiel v. Exxon Corp., 959 F.2d 805 (9th Cir. 1992)......................................... 20

10   CBS, Inc. v. Merrick, 716 F.2d 1292 (9th Cir. 1983) ............................................. 9
11   Christensen v. Georgia-Pacific Corp., 279 F.3d 807 (907)................................... 28
12   Cleveland v. Policy Mgmt. Sys. Corp., 526 U.S. 795 (1999) ............................ 26-27
13
     Comedy Club, Inc. v. Improv West Assocs., 553 F.3d 1277 (9th Cir. 2009)............... 5
14
     Contech Constr. Prods. v. Blumenstein, Case No. 1:11-cv-878, 2012 U.S.
15     Dist. LEXIS 97050, 2012 WL 2871425 (S.D. Ohio July 12, 2012) ................. 2, 8
16
     Couch v. Morgan Stanley & Co., Inc., Case No. 14-cv-10, 2015 WL
17     4716297 (E.D. Cal. Aug. 7, 2015)................................................................ 21
18   Fields v. QSP, Inc., Case No. 12-cv-1238, 2012 WL 2049528 (C.D. Cal.
19      June 4, 2012) .............................................................................................. 3
20   Fresno Rock Taco, LLC v. Nat’l Sur. Corp., No. 1:11-cv-00845-SKO,
21      2013 WL 3803911 (E.D. Cal. July 19, 2013)................................................. 24

22   Gospel Missions of Am. v. City of Los Angeles, 328 F.3d 548 (9th Cir.
       2003) ....................................................................................................... 20
23
24   Hilderman v. Enea TekSci., Inc., 551 F. Supp. 2d 1183 (S.D. Cal. 2008) ............... 21
25   Hutchinson v. Proxmire, 443 U.S. 111 (1979) .................................................... 28
26   ITN Flix, LLC v. Hinojosa, 686 Fed. App’x 441 (2017) ......................................... 5
27
     Kennedy v. Allied Mut. Ins. Co., 952 F.2d 262 (9th Cir. 1991).............................. 26
28
     DM1\8931253.8                                           iv
                     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S M OTION FOR SUM MARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 5 of 37 Page ID #:5902



 1   Korte v. Dollar Tree Stores, Inc., No. 12-cv-541, 2013 WL 2604472
 2     (E.D. Cal. June 11, 2013)............................................................................ 13

 3   Lawrence Crane Enters., Inc. v. Abrams, Case No. 11-cv-7797, 2013 WL
       12123997 (C.D. Cal. Jan. 28, 2013) ............................................................... 8
 4
 5   Lee Myles Assocs. Corp. v. Paul Rubke Enters., Inc., 557 F. Supp. 2d
        1134 (S.D. Cal. 2008) ................................................................................ 27
 6
     Lion Enters., Inc. v. Gerhardt, 907 F.2d 154 (9th Cir. 1990) .................................. 9
 7
 8   Mintz v. Mark Bartelstein and Assocs., Inc., 906 F. Supp. 2d 1017 (C.D.
       Cal. 2012)................................................................................................... 5
 9
     Pyro Spectaculars N., Inc. v. Souza, Case No. 12-cv-299, Case No. 2012
10      U.S. Dist. LEXIS 31016 (E.D. Cal. Mar. 8, 2012) .......................................... 13
11
     Quicken Loans, Inc. v. Nat’l Labor Relations Bd., 830 F.3d 542 (D.C.
12     Cir. 2016) ............................................................................................ 13-15
13   R & R Sails, Inc. v. Ins. Co. of Pennsylvania, 673 F.3d 1240 (9th Cir.
14      2012) ....................................................................................................... 24
15   Rock River Communications, Inc. v. Universal Music Grp., Inc., 745 F.3d
16     343 (9th Cir. 2014) .................................................................................... 23

17   Shenzhenshi Haitiecheng Sci. & Tech. Co. v. Rearden, LLC, No. 15-cv-
        00797, 2015 U.S. Dist. LEXIS 82213 (N.D. Cal. June 23, 2015)...................... 12
18
19   Sosa v. DIRECTV, Inc. 437 F.3d 923 (9th Cir. 2006)........................................... 22

20   Sprewell v. Golden State Warriors, 266 F.3d 979 (9th Cir. 2001).......................... 27
21   SriCom, Inc. v. eBisLogic, Inc., Case No. 12-cv-00904, 2012 U.S. Dist.
22      LEXIS 131082, 2012 WL 4051222 (N.D. Cal. Sept. 13, 2012) ...................... 2, 8
23   Sutrisno v. WebMD Practice Servs., Inc., Case No. 04-cv-4516, 2005 WL
        8154571 (C.D. Cal. June 30, 2005) .............................................................. 24
24
25   Theme Productions, Inc. v. News Am. Marketing FSI, 546 F.3d 991 (9th
        Cir. 2008) ............................................................................................ 22-23
26
     Tolan v. Cotton, 134 S. Ct. 1861 (2014) .............................................................. 7
27
28   United States v. Graf, 610 F.3d 1148 (9th Cir. 2010)........................................... 27
     DM1\8931253.8                                            v
          DEFENDANTS’ OPPOSITION TO PLAINTIFF’S ISO MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 6 of 37 Page ID #:5903



 1   Westlaw Air Charter, Inc. v. Schembari, Case No. 2:17-cv-00420, 2017
 2     WL 7240775 (C.D. Cal. Dec. 14, 2017)........................................................ 11

 3   Wong v. Regents of the Univ. of Cal., 410 F.3d 1052 (9th Cir. 2005) ..................... 24
 4   Yeti by Molly, Ltd. v. Deckers Outdoors Corp., 259 F.3d 1101 (9th Cir.
 5      2001) ....................................................................................................... 24

 6   Youngevity Int’l Corp. v. Smith, Case No. 16-cv-704, 2017 WL 6389776
       (S.D. Cal. Dec. 13, 2017)............................................................................ 27
 7
 8   Zajicek v. KoolVent Metal Awning Corp. of America, 283 F.2d 127 (9th
        Cir. 1960) ................................................................................................ 2-3
 9
     State Cases
10
11   Angelica Textile Servs., Inc. v. Park, 220 Cal. App. 4th 495 (2013)......................... 5

12   Bettelheim v. Hagstrom Food Stores, Inc., 113 Cal. App. 2d 873 (1952).................. 9
13   Blanchard v. DIRECTTV, Inc., 123 Cal. App. 4th 903 (2004).......................... 22-23
14   Brown v. Kelly Broadcasting Co., 48 Cal. 3d 711 (1989) ..................................... 28
15
     D’sa v. Playhut, Inc., 85 Cal. App. 4th 927 (2000)................................................ 8
16
     Dowell, 179 Cal. App. 4th at 575...................................................................... 21
17
18   Edwards v. Arthur Andersen LLP, 44 Cal. 4th 937 (2008).................................2, 15

19   Edwards v. Arthur Andersen LLP, 47 Cal. Rptr. 3d 788 (Cal. Ct. App.
       2006) ....................................................................................................... 15
20
21   Fillpoint, LLC v. Maas, 208 Cal. App. 4th 1170 (2012) ..................................... 2, 8

22   Haley v. Casa Del Rey Homeowners Ass’n, 153 Cal. App. 4th 863 (2007) ............. 19
23   Kelton v. Stravinski, 138. Cal. App. 4th 941, 946–49 (2006) .................................. 5
24
     Mamou v. Trendwest Resorts, Inc., 165 Cal. App. 4th 686 (2008) ........................... 5
25
     Metro Traffic Control, Inc. v. Shadow Traffic Network, 22 Cal. App. 4th
26     853 (1994) .................................................................................................. 8
27
     Nelson v. Anderson, 72 Cal. App. 4th 111 (1999) ............................................... 21
28
     DM1\8931253.8                                            vi
          DEFENDANTS’ OPPOSITION TO PLAINTIFF’S ISO MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 7 of 37 Page ID #:5904



 1   Robinson v. U-Haul Co. of California, 4 Cal. App. 5th 304, 318 (2016) ........... 29-30
 2   Savage v. Pac. Gas & Elec. Co., 21 Cal. App. 4th 434 (1993) ......................... 27-28
 3
     Snukal v. Flightways Manufacturing, Inc., 23 Cal. 4th 754 (2000) ........................ 27
 4
     St. Paul Fire and Marine Ins. Co. v. Am. Dynasty Surplus Lines Ins. Co.,
 5       101 Cal. App. 4th 1038............................................................................... 19
 6
     Sutter v. Gen. Petroleum Corp., 28 Cal. 2d 525 (1946).............................. 20-21, 30
 7
     Other Authorities
 8
 9   Cal. Bus. & Prof. Code § 16600 ............................................................. 2-5, 7, 14

10   Cal. Bus. & Prof. Code § 17200 ....................................................................... 21
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     DM1\8931253.8                                        vii
          DEFENDANTS’ OPPOSITION TO PLAINTIFF’S ISO MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 8 of 37 Page ID #:5905



 1
     I.       INTRODUCTION
 2            Plaintiff Western Air Charter d/b/a Jet Edge International’s (“Jet Edge”) motion
 3   for partial summary judgment (“Motion”) on its breach of contract cause of action and
 4   on Defendants’ counterclaims (ECF No. 170) should be denied in entirety.
 5            The Court should not grant summary judgment on Jet Edge’s breach of contract
 6   claim for at least five reasons. First, the breach of contract claim is based on an illegal
 7   and void contract. Second, Schembari did not violate Section 3 because he did not
 8   receive compensation during his employment with Jet Edge for services rendered to
 9   others. Third, Schembari did not violate Section 6.2 and 6.4 because he did not im-
10   properly use or retain any “Confidential Information.” Fourth, there is a material fac-
11   tual dispute on whether Schembari violated Section 7.3’s non-disparagement provi-
12   sion, as the statements have a non-disparaging interpretation. Fifth, there is a material
13   factual dispute on whether Schembari violated Section 7.4’s prohibition on planning.
14            The Court should not grant summary judgment in Jet Edge’s favor on Defendant
15   Paul Schembari’s (“Schembari”) counterclaims for at least five reasons. First, Schem-
16   bari has standing (and Jet Edge committed an illegal act) because (i) Schembari was a
17   party to Jet Edge’s illegal employment agreement and (ii) Jet Edge CEO Bill Papariella
18   defamed Schembari. Second, the counterclaims are not barred by the Noerr-Penning-
19   ton doctrine because they are founded on acts unrelated to litigation: Jet Edge’s illegal
20   employment agreement and Papariella’s defamation of Schembari. Third, Schembari
21   disclosed his damages theory based on Papariella’s defamation the day after Schembari
22   learned of it. Fourth, there is evidence that Jet Edge knew of Schembari’s relationships
23   with certain entities, as Papariella testified that he spoke with those entities about their
24   working with Schembari. Fifth, Jet Edge’s conduct harmed Schembari by forcing him
25   to incur legal fees and by hindering his business relationships.
26
27
28
     DM1\8931253.8                                1
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 9 of 37 Page ID #:5906



 1   II.      JET EDGE’S BREACH OF CONTRACT CLAIM
 2             A.    The entire employment agreement is void.
 3             Jet Edge bases its breach of contract cause of action on its employment agree-
 4   ment with Schembari. Defendants have already explained in their own Motion for
 5   Summary Judgment why the employment agreement is void. See Defendants’ Motion
 6   for Summary Judgment, ECF No. 167-1 at 16–23 (CMECF numbering). Defendants
 7   incorporate these arguments by reference. Because the employment agreement is ille-
 8   gal and void, judgment should be entered in Schembari’s favor on the breach of con-
 9   tract claim.
10             Jet Edge argues that the employment agreement is valid and enforceable based
11   on two cases. Jet Edge’s Motion, ECF No. 170 at 19–20 (CMECF numbering). These
12   cases do not apply here.
13             Zajicek v. KoolVent Metal Awning Corp. of America, 283 F.2d 127 (9th Cir.
14   1960) does not apply for two reasons. First, the case was decided in 1960, well before
15   the 2008 California Supreme Court decision in Edwards v. Arthur Andersen LLP, 44
16   Cal. 4th 937, 955 (2008), which held section 16600 of the California Business & Pro-
17   fessions Code means what it says – that non-competition provisions in agreements be-
18   tween employers and employees are illegal under California law. Id.; see also SriCom,
19   Inc. v. eBisLogic, Inc., Case No. 12-cv-00904, 2012 U.S. Dist. LEXIS 131082, 2012
20   WL 4051222 at *5 (N.D. Cal. Sept. 13, 2012) (“Section 16600, read in light of Ed-
21   wards, is a clear prohibition on any noncompetition clause that does not fit into one of
22   the statutory exceptions.”). 1 Second, Zajicek is factually inapposite. There, the parties
23   had previously negotiated the removal of the illegal restraint of trade from the contract.
24   Zajicek, 283 F.2d at 132. So the issue effectively was whether the original contract
25   with the illegal provision voided the second contract without the illegal provision. See
26
27   1
      Fillpoint, LLC v. Maas, 208 Cal. App. 4th 1170, 1182 (2012); Contech Constr. Prods.
     v. Blumenstein, Case No. 1:11-cv-878, 2012 U.S. Dist. LEXIS 97050, 2012 WL
28   2871425 at *15 (S.D. Ohio July 12, 2012).
     DM1\8931253.8                                2
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 10 of 37 Page ID #:5907



  1   id. That is not the question here; Jet Edge never sought to remove the illegal provisions
  2   from its contract with Schembari and, in fact, sued him based on those illegal provi-
  3   sions.
  4            In Fields v. QSP, Inc., Case No. 12-cv-1238, 2012 WL 2049528 at *9–10 (C.D.
  5   Cal. June 4, 2012), the other case relied on by Jet Edge, the Court began its analysis by
  6   noting that under California law, “a court has discretion to either sever an unconscion-
  7   able provision from an agreement, or refuse to enforce the agreement in its entirety.”
  8   Id. (citing Pokorny v. Quixtar, Inc., 601 F.3d 987, 1005 (9th Cir. 2010)). Critical to
  9   the court’s decision in Fields was the court’s finding that the confidentiality provisions
10    of the contract in question were legal. “However, § 16600 does not invalidate an agree-
11    ment between an employer and employee that seeks to maintain the confidentiality of
12    an employer’s trade secret or other proprietary information.”          Fields, 2012 WL
13    2049528 at *9. Here, by contrast, the Court (per Judge Birotte) has already held that
14    the confidentiality provisions of Schembari’s employment agreement with Jet Edge
15    violate section 16600 of the California Business & Professions Code. ECF No. 96 at
16    6–8. Thus, unlike the situation in Fields, where the dividing line between the legal and
17    illegal provisions of the contract was clear, here there is no such dividing line on the
18    key provisions of Schembari’s employment agreement.
19             B.    To the extent certain sections of the employment agreement survive,
                     there are individual legal issues and/or genuine issues of material fact
20                   which preclude summary judgment on Jet Edge’s claim for breach of
21                   contract.
22             Even if certain sections of the employment agreement are enforceable, there are

23    material factual disputes that prevent entry of summary judgment on the sections of the

24    employment agreement on which Jet Edge moves.

25
26
27
28
      DM1\8931253.8                                3
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 11 of 37 Page ID #:5908



  1                   1.   If section 3 of the employment agreement (exclusivity provi-
                           sion) is enforceable, there are genuine issues of material fact
  2                        which preclude summary judgment. 2
  3                        a.    Section 3 is void because it violates Business & Profes-
  4                              sions Code § 16600.
  5            Separate and apart from the issue of whether the entire employment agreement

  6   is void as a result of the provisions this Court (per Judge Birotte) has already found to

  7   be illegal, section 3 of the employment agreement should be found void because it

  8   violates Business & Professions Code section 16600. This Section provides that:

  9         Employee shall not, directly or indirectly, during the term of this Agree-
            ment: (a) render services to any other person or entity for compensation,
10          or (b) engage in any activity competitive with or adverse to the Company’s
            business, whether alone, as a partner, or as an officer, director, employee,
11          consultant or investor.
12    Jet Edge’s Statement of Undisputed Fact (“Jet Edge SUF”), No. 7.
13             Section 3 is effectively an in-term non-compete provision. It prohibits Schem-
14    bari from engaging in any activity adverse to Jet Edge during employment. Literally
15    construed, it prohibits Schembari from even interviewing for another position because
16    that interview could be an activity that is adverse to Jet Edge’s business.
17             As argued in Defendants’ own Motion for Summary Judgment (ECF No. 167-1
18    at 22 (CMECF numbering)), at least some California courts have held that in-term non-
19
20    2
        Jet Edge argues in its Motion that Schembari should not be permitted to seek damages
      on his counterclaims because of an alleged “last minute shift” in Schembari’s damages
21    theory. For the reasons set forth, infra, section III.A.3, Schembari’s shift in his dam-
22    ages theory was substantially justified by evidence discovered after discovery had
      closed. It is worth noting, however, that while Jet Edge complains about Schembari’s
23    shift in damages theory, nowhere in Jet Edge’s Amended Complaint does Jet Edge cite
      section 3 (or, for that matter, sections 6.2, 6.4 or 7.3) of Schembari’s employment
24    agreement as a section it is suing on. The only sections of the employment agreement
      referenced in the Amended Complaint – the operative complaint in this case until Au-
25    gust 17, 2018, when Jet Edge filed its Second Amended Complaint – are sections 6.1,
26    7.1 and 7.4. Defendants submit that it would be patently unfair for the Court to pre-
      clude Schembari from presenting his damages claim based on a late shift in theories
27    while at the same time permitting Jet Edge to proceed with its claims on sections of
      Schembari’s employment agreement it never (until last week) cited in the operative
28    complaint or vice versa.
      DM1\8931253.8                               4
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 12 of 37 Page ID #:5909



  1   competes are void because they violate section 16600 of the Business & Professions
  2   Code. Comedy Club, Inc. v. Improv West Assocs., 553 F.3d 1277, 1290–93 (9th Cir.
  3   2009); ITN Flix, LLC v. Hinojosa, 686 Fed. App’x 441, 444 (2017) (mem.) (“[Plaintiff]
  4   argues that § 16600 does not apply to ‘in term’ non-compete clauses that last only for
  5   the term of employment set by the contract. Both California courts and the Ninth Cir-
  6   cuit have rejected this argument.”); Kelton v. Stravinski, 138. Cal. App. 4th 941, 946–
  7   49 (2006).
  8            Section 3 is also void to the extent Jet Edge is trying to punish Schembari for
  9   engaging in preparations to compete. Angelica Textile Servs., Inc. v. Park, 220 Cal.
10    App. 4th 495, 509 (2013) (“California law . . . permit[s] an employee to seek other
11    employment and even to make some ‘preparations to compete’ before resigning . . . .”);
12    Mamou v. Trendwest Resorts, Inc., 165 Cal. App. 4th 686, 719 (2008); Mintz v. Mark
13    Bartelstein and Assocs., Inc., 906 F. Supp. 2d 1017, 1037–38 (C.D. Cal. 2012).
14                          b.     If section 3 is enforceable, there are genuine issues of ma-
                                   terial fact which preclude summary judgment.
15
               Even if section 3 of the employment agreement is enforceable, there are genuine
16
      issues of material fact regarding whether Schembari breached this provision.
17
               First, there is a genuine question of whether Schembari actually “render[ed] ser-
18
      vices to any other person or entity for compensation” during the term of the Employ-
19
      ment Agreement. Defendants’ Statement of Genuine Disputes of Material Facts
20
      (“Schembari SDF”), Nos. D1–D3. The evidence is undisputed that Schembari did not
21
      actually receive any compensation for any services (even assuming he provided such
22
      services) during his employment with Jet Edge. Jet Edge cites the broker agreement
23
      between Cosa di Famiglia and Tropical Sky Investments, but the evidence demon-
24
      strates that Cosa di Famiglia was paid the $300,000 after Schembari’s employment
25
      with Jet Edge ceased, upon the closing of the ACI purchase. Schembari SDF, Nos.
26
      D1–D3; Jet Edge SUF, No. 38.
27
28
      DM1\8931253.8                                 5
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 13 of 37 Page ID #:5910



  1            Moreover, there are genuine issues of material fact concerning whether Schem-
  2   bari actually “engage[d] in any activity competitive with or adverse to [Jet Edge’s]
  3   business” during the term of the Employment Agreement. Schembari SDF, Nos. D6–
  4   D12. Jet Edge bases its claim for breach of section 3(b) on four theories: (1) Schembari
  5   entered into a contract with a Sojitz subsidiary for identifying an air carrier certificate
  6   for purchasing; (2) Schembari performed under that contract by meeting with Bob
  7   Seidel (of ACP Jet) regarding purchasing ACP Jet’s air carrier certificate; (3) Schem-
  8   bari prepared a business plan for a future business venture, and this business plan iden-
  9   tified jets that were then under Jet Edge management; and (4) Schembari diverted the
10    aircraft with the tail number N2020 away from Jet Edge.
11             There are genuine issues of material fact whether these activities were indeed
12    “competitive with or adverse to the Company’s business” at the time the activities were
13    taken. Prior to the time Schembari engaged in these activities, Sojitz had decided to
14    part ways with Jet Edge, and Sojitz approached Schembari about starting a new com-
15    pany. Schembari SDF, Nos. D6–D8. Thus, there is a genuine question whether these
16    activities were “competitive” with or “adverse to” Jet Edge’s business under circum-
17    stances where Jet Edge has admitted that the clients in question were much closer to
18    Sojitz, and that Jet Edge knew the clients would cancel their management agreements
19    with Jet Edge if Sojitz ended its partnership with Jet Edge. Schembari SDF, Nos. D45–
20    46.
21             In addition, other evidence demonstrates that these acts were not competitive
22    with or adverse to Jet Edge. Jet Edge operates primarily in the continental United
23    States, but Defendants operate primarily in the Asian market. Schembari SDF, Nos.
24    D10–D11. Partly because of this, Schembari testified that he does not consider Jet
25    Edge to be a competitor of Phenix Jet. Schembari SDF, Nos. D9, D12.
26             As for the N2020 aircraft, Jet Edge contends that Schembari violated Section
27    3(b) of the employment agreement by ensuring that Jet Edge did not manage the N2020
28    jet. Jet Edge’s Motion, ECF No. 170 at 23 (CMECF). There is a material factual
      DM1\8931253.8                                6
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 14 of 37 Page ID #:5911



  1   dispute on this issue. Jet Edge’s sole evidence on this point is an email from Schembari
  2   to Sojitz asking, “Have we decided to not assign 2020 management to Jet Edge?” Jet
  3   Edge SUF, No. 39; Schembari SDF, No. D13. The summary judgment standard re-
  4   quires that “all justifiable inferences” be drawn in the non-moving party’s favor. An-
  5   derson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986); Tolan v. Cotton, 134 S. Ct.
  6   1861, 1863 (2014). Here, that means interpreting this statement as solely an inquiry of
  7   what Sojitz will be doing with the N2020 aircraft: will it assign it to Jet Edge, or will
  8   it assign it elsewhere? This neutral inquiry is not “competitive with” or “adverse to”
  9   Jet Edge.
10                    2.   Even if enforceable, there are genuine issues of material fact
                           regarding whether section 6.2 of the employment agreement
11                         (restrictions on Confidential Information) was breached. 3
12             Section 6.2 of the employment agreement states that both during and after
13    Schembari’s employment with Jet Edge, he is “not to acquire, disclose, or utilize any
14    Confidential Information for purposes other than those purposes approved by [Jet
15    Edge] during the course and scope of [Schembari’s] employment with Company.” Jet
16    Edge SUF, No. 46.
17                         a.     Section 6.2 is void under section 16600 of the Business &
18                                Professions Code
19             Section 6.2 of the employment agreement should be found void (if the entire

20    employment agreement is not already found to be void) because it violates Business &

21    Professions Code section 16600, as it relies on a definition of “Confidential Infor-

22    mation” that this Court (per Judge Birotte) has already found contravenes California

23    law.

24             In its Order denying Jet Edge’s Motion to Dismiss Schembari’s counterclaims,

25    the Court found:

26
27
      3
        Section 6.2 is another section of the employment agreement not cited by Jet Edge in
28    its Amended Complaint. See supra footnote 2.
      DM1\8931253.8                               7
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 15 of 37 Page ID #:5912



  1        The Employment Agreement’s restrictions are not narrowly tailored to the
           protection of trade secrets. Section 7.1 prohibits Schembari from ever us-
  2        ing “Confidential Information” to compete with Plaintiff, “in perpetuity.”
           SACC, ¶ 143. Id. Section 6.1 “broadly define[s]” “Confidential Infor-
  3        mation” as “all information that has or could have commercial value or
  4        other utility in the business of [Plaintiff].” SACC, ¶ 144. It then provides
           exceptions to the broad definition for information “generally known to the
  5        public” and information that Schembari independently develops. Id. In es-
           sence, the Employment Agreement prevents Schembari from using any
  6        helpful information not generally known to the public. Thus, like in Dow-
  7        ell, Plaintiff’s attempt to tether section 7.1 to “Confidential Information”
           fails because the Employment Agreement defines “Confidential Infor-
  8        mation” so broadly.
  9   ECF No. 96 at 7–8. 4
10             Section 6.2 of the employment agreement is an illegal restraint for the same rea-
11    son that this Court previously found sections 6.1 and 7.1 to be illegal. This section
12    prohibits Schembari from ever (both before and after his employment) using any infor-
13    mation that is not generally available to the public.
14                          b.     Even if section 6.2 is not void in its entirety, Jet Edge is
                                   still not entitled to summary judgment.
15
                                   i.  Jet Edge has waived any claim relating to Schem-
16                                     bari’s use of allegedly “Confidential Information”
17                                     through Jet Edge’s own conduct.
18             Before even considering the evidence relating to whether Schembari actually

19    acquired, disclosed or utilized any “Confidential Information” belonging to Jet Edge

20    (he did not), this Court should find that Jet Edge has waived any right to enforce section

21    6.2 of the employment agreement for at least the following reasons:

22             •      Jet Edge did not deactivate Schembari’s Jet Edge email account following
                      the end of his employment, thus allowing Schembari to maintain access to
23
24    4
       See also Fillpoint, LLC v. Maas, 208 Cal. App. 4th 1170, 1182 (2012); D’sa v.
      Playhut, Inc., 85 Cal. App. 4th 927, 935 (2000); Metro Traffic Control, Inc. v. Shadow
25    Traffic Network, 22 Cal. App. 4th 853, 861 (1994); SriCom, Inc. v. eBisLogic, Inc.,
26    Case No. 12-cv-00904, 2012 WL 4051222 at *5 (N.D. Cal. Sept. 13, 2012); Lawrence
      Crane Enters., Inc. v. Abrams, Case No. 11-cv-7797, 2013 WL 12123997 at *4 (C.D.
27    Cal. Jan. 28, 2013); Contech Constr. Prods. v. Blumenstein, Case No. 1:11-cv-878,
      2012 WL 2871425 at *15 (S.D. Ohio July 12, 2012).
28
      DM1\8931253.8                                 8
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 16 of 37 Page ID #:5913



  1                   it. Schembari SDF, Nos. D31–D33. As a result, Jet Edge effectively
                      granted Schembari the right to continue to access anything – including any
  2                   alleged “Confidential Information” – in his Jet Edge email account.
  3            •      Even though Jet Edge knew Schembari had the employment agreement
  4                   and employee handbook, there is no evidence that Jet Edge insisted or de-
                      manded the return of these specific documents. Schembari SDF, No. D34.
  5                   If Jet Edge truly believed these documents needed to be returned, Jet Edge
  6                   would have insisted on the return of these specific documents.
               The fact that the employment agreement has an anti-waiver provision is irrele-
  7
      vant. “Even a waiver clause may be waived by conduct.” Bettelheim v. Hagstrom
  8
      Food Stores, Inc., 113 Cal. App. 2d 873, 878 (1952); Lion Enters., Inc. v. Gerhardt,
  9
      907 F.2d 154 at *4 (9th Cir. 1990) (mem.). The existence of a waiver is usually a fact
10
      question, CBS, Inc. v. Merrick, 716 F.2d 1292, 1295 (9th Cir. 1983), so summary judg-
11
      ment is inappropriate on this basis alone.
12
                                   ii.  During his employment with Jet Edge, there is (1)
13
                                        no evidence that Schembari improperly used the
14                                      aircraft management agreements or IOE forms
                                        and (2) a material factual dispute on whether
15                                      Schembari improperly used the employment
16                                      agreement.
17             Even if the Court construes section 6.2 as only prohibiting the acquisition, utili-

18    zation or disclosure of “Confidential Information” during Schembari’s employment,

19    summary judgment is still improper. With respect to the aircraft management agree-

20    ments and initial operating experience form, there is no evidence that Schembari vio-

21    lated those provisions during his employment with Jet Edge. The evidence cited by Jet

22    Edge all relates to acts occurring months after Schembari’s employment with Jet Edge

23    ended. Schembari SDF, No. D48; see also Jet Edge SUF Nos. 83, 85, 87, 89, 91.

24             With respect to the Jet Edge employment agreement, the only evidence is a Phe-

25    nix Jet employment agreement that was signed by Schembari on March 16, 2016.

26    Schembari SDF, No. D47. But Schembari’s last day of employment with Jet Edge was

27    March 14, 2016. Drawing all reasonable inferences in favor of Schembari requires

28    concluding that any use of the Jet Edge employment agreement (even assuming use of
      DM1\8931253.8                                  9
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 17 of 37 Page ID #:5914



  1   a generic employment agreement form could be improper) occurred after Schembari
  2   resigned from Jet Edge.
  3                               iii.   There is no evidence that Schembari improperly
                                         used or disclosed the aircraft management agree-
  4                                      ments.
  5            There is no evidence that Schembari used, disclosed, or failed to safeguard Jet
  6   Edge’s aircraft management agreements. A Phenix Jet employee (Elsie Quenga) testi-
  7   fied that she received Jet Edge’s aircraft management agreement from Pocket Corpo-
  8   ration and Private Wings (a customer), not from Schembari. Schembari SDF, No. D14.
  9   Pocket Corporation and Private Wings sent her the document because Quenga asked
10    for it. Schembari SDF, No. D15.
11                                iv.     The employment agreement, employee handbook,
12                                        aircraft management agreements, and IOE forms
                                          are not confidential information.
13
               In addition, there are genuine issues of material fact concerning whether Schem-
14
      bari violated section 6.2 because, at a bare minimum, there are serious questions as to
15
      whether the employment agreement, employee handbook, aircraft management agree-
16
      ments, and IOE forms even qualify as “Confidential Information.”
17
               Section 6.1 defines “Confidential Information” as (1) “confidential, trade secret,
18
      and/or proprietary information of Company . . . . that [(2)] has or could have commer-
19
      cial value or other utility in the business of Company . . . .” Schembari SDF, No. D17.
20
      “Confidential Information does not include information that . . . was known to the pub-
21
      lic prior to its disclosure to Employee . . . .” Schembari SDF No., D17.
22
               Here, at a minimum, there is a disputed material factual issue on whether the
23
      information in Jet Edge’s claim meets this definition.
24
25
26
27
28
      DM1\8931253.8                                 10
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 18 of 37 Page ID #:5915



  1                                v.   The aircraft management agreements are filed
                                        with the government, contain provisions “typical
  2                                     within the industry,” and are shared with others
  3                                     outside Jet Edge.
  4            Jet Edge’s aircraft management agreements are not “Confidential Information”

  5   for at least the following reasons:

  6            •      Jet Edge’s aircraft management agreements are filed with the FAA and are
                      public records. Schembari SDF, No. D18.
  7
               •      Jet Edge’s aircraft management agreements have been filed on the public
  8                   docket in court cases where Jet Edge was a defendant, and Jet Edge did not
                      move to seal them. Schembari SDF, No. D19.
  9
               •      Jet Edge shares its aircraft management agreements with potential (not cur-
10
                      rent) customers. Schembari SDF, No. D20.
11
               •      Jet Edge’s aircraft management agreements contain provisions that are
12                    “typical within the industry.” Schembari SDF, No. D21.
13             •      The deal points in Jet Edge’s aircraft management agreements are equiva-
                      lent to the deal points in ACI’s aircraft management agreements. Schem-
14                    bari SDF, No. D49.
15             •      Jet Edge wouldn’t “go crazy” if its aircraft management agreements were
16                    published because they’re not representative of what Jet Edge does as a
                      company. Schembari SDF, No. D58.
17
                                   vi.
                                    The employment agreement is quoted in Jet
18                                  Edge’s public complaint, and competitors get no
19                                  commercial value out of it.
               The employment agreement is not “Confidential Information” for at least the
20
      following reasons:
21
               •      Jet Edge quoted Sections 3, 6.1, 7.1, 7.2, and 7.4 of the employment agree-
22
                      ment in its public filings in this action. Schembari SDF No. D22; ECF No.
23                    26 at ¶¶ 34–37; Jet Edge SUF, No. 7; Jet Edge’s Motion, ECF No. 170 at
                      21 (CMECF numbering).
24
               •      This Court entered an order denying Jet Edge’s motion to dismiss, and that
25                    order quoted Sections 6.1 and 7.1 of the employment agreement. Order
26                    Denying Plaintiff’s Motion to Dismiss Counterclaims, ECF No. 96 at 2–4,
                      6–8. This order is published on Westlaw. Westlaw Air Charter, Inc. v.
27                    Schembari, Case No. 2:17-cv-00420, 2017 WL 7240775 at *1–2, at *3–4
28                    (C.D. Cal. Dec. 14, 2017).
      DM1\8931253.8                                 11
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 19 of 37 Page ID #:5916



  1            •      Jet Edge’s employment agreement is very standard material. Schembari
                      SDF, No. D23.
  2
               •      Jet Edge provides its employment agreement to prospective employees.
  3                   Schembari SDF, No. D24. There is no evidence that those prospective
  4                   employees are covered by NDAs when they view the agreement.
  5            •      Jet Edge expects that its employees’ future employers honor Jet Edge’s
                      employment agreement. Schembari SDF, No. D25. This necessarily re-
  6                   quires that those employers know the terms of Jet Edge’s employment
  7                   agreement. This also requires that employees retain (and not return to Jet
                      Edge) the employment agreement.
  8
               •      Many companies’ employment agreements are reported to the SEC and are
  9                   publicly available on the SEC’s website. Schembari SDF, No. D57. There
                      is no basis for finding unique commercial value in this employment agree-
10                    ment.
11             •    The employment agreement has no commercial value because it contains
12                  several illegal provisions. Defendants’ Motion for Summary Judgment,
                    ECF No. 167-1 at 16–23 (CMECF numbering); Schembari SDF, No. D58.
13                  Therefore, it is not a document companies would want to use because it
14                  subjects them to liability.
               In addition to these factual bases, at least one court has held that employment
15
      agreements do not meet the standard for sealing. Shenzhenshi Haitiecheng Sci. & Tech.
16
      Co. v. Rearden, LLC, No. 15-cv-00797, 2015 U.S. Dist. LEXIS 82213 at *4 (N.D. Cal.
17
      June 23, 2015) (denying sealing of employment agreement generally, but allowing the
18
      sealing of the employee’s salary).
19
20                                 vii.   Employee Handbook

21           The employee handbook is not Confidential Information for at least the follow-
      ing reasons:
22
               •      Jet Edge’s employee handbook is not confidential. Schembari SDF, No.
23                    D26.
24             •      Jet Edge provides its employee handbook to every employee. Schembari
25                    SDF, No. D27. Yet there is no evidence that Jet Edge seeks the return of
                      these handbooks when employees leave Jet Edge. Schembari SDF, No.
26                    D34.
27             •      Jet Edge’s employee handbook is not novel or substantively different from
                      employee handbooks used by other operators. Schembari SDF, No. D28.
28
      DM1\8931253.8                                 12
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 20 of 37 Page ID #:5917



  1            In addition to these factual reasons, at least one court has held that employee
  2   handbooks should be filed on public court dockets, not sealed. Pyro Spectaculars N.,
  3   Inc. v. Souza, Case No. 12-cv-299, Case No. 2012 U.S. Dist. LEXIS 31016 at *5 (E.D.
  4   Cal. Mar. 8, 2012) (denying sealing of the employee handbook because it “contain[ed]
  5   generic information regarding vacation, overtime, harassment in the workplace, etc.,
  6   and [wa]s distributed to all employees upon hire”); see also Korte v. Dollar Tree Stores,
  7   Inc., No. 12-cv-541, 2013 WL 2604472 at *16 (E.D. Cal. June 11, 2013) (denying
  8   sealing of documents regarding “human resources policies,” “human resources prac-
  9   tices,” “operational policies,” “operational procedures,” and “pay practices”).
10             Additionally, federal labor law dictates that employee handbooks cannot be con-
11    fidential. Quicken Loans, Inc. v. Nat’l Labor Relations Bd., 830 F.3d 542, 546–48
12    (D.C. Cir. 2016) (holding that the employment agreement’s attempt to declare “hand-
13    books” as proprietary and confidential information directly interfered with employee’s
14    rights under Section 7 of the National Labor Relations Act).
15                                 viii. The Initial Operations Experience form is very
                                         standard and is not proprietary or confidential.
16
               Jet Edge’s Initial Operations Experience form is not Confidential Information
17
      for at least the following reasons.
18
               •      Jet Edge’s Initial Operations Experience form is very standard. Schembari
19                    SDF, No. D29.
20             •      Jet Edge’s Initial Operations Experience form is not proprietary or confi-
21                    dential. Schembari SDF, No. D30.
22                    3.   If section 6.4 (return of Confidential Information) of the em-
                           ployment agreement is enforceable, there are genuine issues of
23                         material fact which preclude summary judgment. 5
24             Section 6.4 of the employment agreement should be found void for the same
25    reason that section 6.2 should be found void (see supra Part II.B.2.a (beginning on page
26    7)) – it relies on an overbroad definition of “Confidential Information” that has the
27
      5
        Section 6.4 is another section of the employment agreement not cited by Jet Edge in
28    its Amended Complaint. See supra footnote 2.
      DM1\8931253.8                                 13
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 21 of 37 Page ID #:5918



  1   effect of preventing Schembari from using any helpful information not generally
  2   known to the public.
  3            Even if section 6.4 of the employment agreement is enforceable, however, there
  4   are genuine issues of material fact which preclude summary judgment.
  5            First, there is a disputed factual issue on whether Jet Edge waived any right to
  6   enforce this section of the employment agreement. See supra Part II.B.2.b.i (beginning
  7   on page 8).
  8            Second, there is a genuine issue of material fact regarding whether Schembari
  9   actually breached section 6.4, because none of the retained information constituted
10    Confidential Information. See Parts II.B.2.b.iv–II.B.2.b.viii (beginning on page 10)
11    (explaining why the retained information is not Confidential Information).
12             Third, to the extent section 6.4 is a prohibition on post-termination activities
13    (e.g., use, acquisition, or copying of confidential information), this provision is void
14    because it violates California Business & Professions Code § 16600. ECF No. 96 at
15    6–8; supra footnote 4 (beginning on page 8Error! Bookmark not defined.).
16                    4.  If section 7.3 (non-disparagement) of the employment agree-
                          ment is enforceable, there are genuine issues of material fact
17                        which preclude summary judgment. 6
18             Even assuming the entire employment agreement is not void, summary judgment
19    is inappropriate regarding section 7.3 for at least the following reasons.
20                          a.    Section 7.3 is illegal and void under federal law.
21             Section 7.3 provides that “Employee will not make any representation or state-
22    ment . . . that may defame, disparage, harm, or otherwise reflect negatively on Com-
23    pany . . . .” Jet Edge SUF, No. 70.
24             This provision is illegal. The D.C. Circuit held that a similar non-disparagement
25    provision was void under federal law. Quicken Loans, Inc., 830 F.3d at 546, 550–51.
26
27
      6
        Section 7.3 is another section of the employment agreement not cited by Jet Edge in
28    its Amended Complaint. See supra footnote 2.
      DM1\8931253.8                                14
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 22 of 37 Page ID #:5919



  1   Section 7 of the National Labor Relations Act “protects employees’ rights . . . to criti-
  2   cize or complain about their employer or their conditions of employment . . . .” Id. at
  3   545. The Quicken Loans employment agreement provided that the “[employee] agrees
  4   that [she] will not (nor will [employee] cause or cooperate with others to) publicly
  5   criticize, ridicule, disparage or defame the Company . . . .” Id. at 546.
  6             The D.C. Circuit recognized “such a sweeping gag order would significantly
  7   impede mortgage bankers’ exercise of their Section 7 rights because it directly forbids
  8   them to express negative opinions about the company, its policies, and its leadership in
  9   almost any public forum.” Id. at 550. Even though there was no evidence that the
10    employer in Quicken Loans used the non-disparagement provision to violate Section
11    7, the provision still violated Section 7 because “employees would reasonably read the
12    rule to prohibit the exercise of Section 7 rights . . . .” Id. at 548, 551 (internal brackets
13    omitted). Ultimately, the D.C. Circuit affirmed an order requiring that the employer
14    rescind this illegal language. Id. at 547, 549, 552.
15              None of the authority cited by Jet Edge addresses the enforceability of the pro-
16    vision under the National Labor Relations Act. Motion, ECF No. 170 at 26–27
17    (CMECF numbering). The Edwards case regards solely whether the non-disparage-
18    ment provision violated a California Labor Code provision protecting whistleblowers.
19    Edwards v. Arthur Andersen LLP, 47 Cal. Rptr. 3d 788, 810 (Cal. Ct. App. 2006). The
20    California Supreme Court reversed that decision on other grounds and remanded for
21    further proceedings. Edwards v. Arthur Andersen LLP, 44 Cal. 4th 937, 955 (2008).
22              Bakst did not analyze whether any federal or state laws voided the contract.
23    Bakst, 2011 WL 13214315 at *40. Bakst also did not involve an employment agree-
24    ment; it involved a settlement agreement. Id. at *1. Moreover, Bakst recognized that
25    the illegality of the non-disparagement issue was a live question that remained to be
26    litigated at trial. See id. (“The court will instruct the jury that if it finds the contract
27    invalid or unenforceable, it should find that [the party] did not waive its right to free
28    speech or the protection of the litigation privilege.”).
      DM1\8931253.8                                 15
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 23 of 37 Page ID #:5920



  1                          b.    There are genuine issues of material fact regarding
                                   whether Schembari violated section 7.3.
  2
               Jet Edge cites two statements by Schembari that it alleges violate the non-dis-
  3
      paragement provision of the employment agreement:
  4
               •      An email dated January 28, 2015, in which Schembari told Hideto
  5                   Shimooka, who was the contact for Jet Edge customer Private Wings, as
  6                   well as Sojitz representative, Yohei Sakurai, that “working with JEI [Jet
                      Edge] ops is continually challenging due to time zone differences and their
  7                   workload with US domestic fleet. If this is the case you will become frus-
                      trated in only a short time.”; and
  8
               • An email Schembari sent the next day where he told Shimooka and Sakurai
  9
                 that “[f]lights dispatched by JEI [Jet Edge] never go smoothly as there are
10               always mistakes, oversights, and lack of communication.”
11    Motion at 18–19.
12             Some context is required in order to understand why – at a bare minimum – there
13    is a genuine issue of material fact regarding whether the statements made in these
14    emails violated section 7.3 of the employment agreement. The email exchanges relate
15    to dispatch services – the go-between for the pilot and ground service personnel. At
16    the time, Jet Edge used Asia Jet to dispatch some flights in Asia, whereas other flights
17    were dispatched directly by Jet Edge. The portions of the January 28, 2015 email string
18    not highlighted by Jet Edge confirm that Schembari’s sole goal was ensuring that the
19    clients – clients of both Jet Edge and Sojitz – received the best possible service:
20             Schembari: “I have come to understand that dispatch of N810TS will be
               handled exclusively by Jet Edge VNY, is this true?”
21
               Sakurai: “I heard from Hide so, but AJ should be better for this aircraft.”
22
               Schembari: “I respectfully trust Asia Jet to provide the quality that we are
23             accustomed to. . . .
24         Shimooka: “I do not know the JEI politics behind, but I will request JEI to
25         use AJ.”
26    Schembari SDF, No. D35. Thus, at most, Schembari was advocating for Jet Edge using

27    its vendor (Asia Jet) for dispatch instead of using its “in-house” dispatch services in

28
      DM1\8931253.8                                 16
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 24 of 37 Page ID #:5921



  1   order to provide Jet Edge’s client with the best possible service. As Schembari suc-
  2   cinctly testified, his intent “was to highlight that there was a better way for [the] cus-
  3   tomer to get the service that I know that they wanted to have.” Schembari SDF, No.
  4   50.
  5            Moreover, the notion that an employer is entitled to summary judgment that its
  6   employee violated a broad non-disparagement provision in an employment agreement
  7   by virtue of two cherry-picked emails from the entirety of an employee’s employment
  8   and post-employment conduct flies in the face of common sense and fairness (even
  9   assuming that the non-disparagement provision is enforceable as written). Signifi-
10    cantly, the emails in question were sent by Schembari in January 2015 – more than a
11    year prior to his resignation of employment from Jet Edge, and 10 months before
12    Schembari first discussed the concept that ultimately became Phenix Jet. Jet Edge
13    SUF, Nos. 71, 72. There is no evidence that in any way ties Schembari’s two January
14    2015 emails to a decision by Pocket Corporation to cease doing business with Jet Edge.
15    If anything, Defendants are entitled to summary judgment on any claim that Schembari
16    violated section 7.3 of the employment agreement because Jet Edge has adduced no
17    evidence that these statements harmed or could have possibly harmed Jet Edge.
18                    5.   If section 7.4 (prohibition on planning) of the employment
                           agreement is enforceable, there are genuine issues of material
19                         fact which preclude summary judgment.
20             Section 7.4 of the employment agreement prohibits the “plan[ning] for or or-
21    ganiz[ing] any business . . . . competitive with the Company.” Jet Edge SUF, No. 137.
22    Jet Edge asserts that Schembari breached this provision. Jet Edge’s Motion, ECF No.
23    170 at 27–29 (CMECF numbering). This argument fails for several reasons.
24             First, Defendants explained in their own Motion for Summary Judgment why
25    California law voids contractual provisions barring preparations to compete. Defend-
26    ants’ Motion, ECF No. 167-1 at 22–23 (CMECF numbering).
27
28
      DM1\8931253.8                               17
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 25 of 37 Page ID #:5922



  1            Second, applying this law, this Court has recognized that (i) “[e]ven setting up a
  2   competing organization is not necessarily a breach of the duty of loyalty” and (ii)
  3   “[m]ost of Plaintiff’s new allegations also fall within the category of preparation to
  4   compete . . . .” ECF No. 166 at 6.
  5            Nevertheless, this Court found that Jet Edge may be able to base claims on the
  6   following acts: (i) diverting N2020 from Jet Edge and (ii) seeking to buy ACP Jet’s air
  7   carrier certificate for the purpose of managing the aircraft of Sojitz’s clients. Id.
  8            There is a material factual dispute whether these sets of activities were “compet-
  9   itive with or adverse to the Company’s business.” For the reasons already explained,
10    Schembari’s organizing Defendants was not “competitive with” Jet Edge because (i)
11    Sojitz had already decided to part ways with Jet Edge and (ii) Defendants and Jet Edge
12    operate in different markets. See Part II.B.1.b (beginning on page 5). For other reasons
13    already explained, it is not clear whether Schembari’s activities were “competitive with
14    the Company” because (i) Jet Edge knew Schembari had a closer relationship with
15    Sojitz that predated his Jet Edge employment and (ii) Jet Edge expected that Sojitz and
16    Sojitz’s clients would leave with Schembari when Jet Edge declined Sojitz’s formal
17    business offer. Schembari SDF, Nos. D51–D55.
18              Additionally, construing the evidence in the light most favorable to Schembari
19    shows that he did not divert N2020 from Jet Edge. Instead, he merely asked whether
20    Sojitz would be placing the aircraft with Jet Edge or with someone else. Schembari
21    SDF, No. D13. Jet Edge has not cited any evidence beyond this mere question asked
22    by Schembari in support of its claim for summary judgment.
23              C.    Even if Schembari breached the employment agreement, the breach
                      did not cause harm to Jet Edge.
24
                Jet Edge contends that it has been harmed by Schembari’s alleged breaches of
25
      contract and that “[l]osing the customers has cost Jet Edge millions of dollars in lost
26
      profits . . . .” Motion, ECF No. 170 at 29–30.
27
28
      DM1\8931253.8                                 18
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 26 of 37 Page ID #:5923



  1            This claim fails because there is no evidence that the alleged breaches caused
  2   this harm. If a contract is breached, “the non-breaching party is entitled to recover only
  3   those damages, including lost future profits, which are ‘proximately caused’ by the
  4   specific breach.” St. Paul Fire and Marine Ins. Co. v. Am. Dynasty Surplus Lines Ins.
  5   Co., 101 Cal. App. 4th 1038, 1061. In turn, “[t]he test for causation in a breach of
  6   contract action is whether the breach was a substantial factor in causing the damages.”
  7   Haley v. Casa Del Rey Homeowners Ass’n, 153 Cal. App. 4th 863, 871 (2007) (internal
  8   quotation mark and ellipsis omitted).
  9            Here, the breaches alleged by Jet Edge are unrelated to the claimed damages.
10    For instance, if Jet Edge is correct that Schembari breached the employment agreement
11    by copying public aircraft management agreements or by copying a form, there is no
12    evidence to reach the conclusion that this breach was a substantial factor in the loss of
13    the customers.
14             Jet Edge’s statement of facts does not cite any evidence establishing causation.
15    Jet Edge merely asserts that Sojitz’s customers terminated their contracts with Jet Edge
16    and went to Phenix Jet. Jet Edge SUF, Nos. 82–91. This does not show that Schem-
17    bari’s breach (e.g., copying an employment agreement) caused the Sojitz customers to
18    terminate their contracts.
19             In fact, the loss of the Sojitz customers was not due to Schembari’s alleged cop-
20    ying of documents or entering a brokerage agreement. Before any of that happened,
21    Sojitz concluded that it would part ways with Jet Edge because Jet Edge’s performance
22    was subpar and did not meet Sojitz’s standards. Schembari SDF, Nos. D6–D8. Sojitz
23    then approached Schembari and asked whether he would be willing to form Phenix Jet.
24    Schembari SDF, No. D8. And Sojitz’s clients decided to terminate their aircraft man-
25    agement agreements with Jet Edge – well after Schembari resigned from Jet Edge.
26    Schembari SDF, Nos. D52–D53, D60–D62; Jet Edge SUF, Nos. 84, 86, 88, 90.
27              Because these facts demonstrate that Schembari’s alleged breach of the employ-
28    ment agreement was not a cause of the harm to Jet Edge, Schembari cross-moves for
      DM1\8931253.8                                19
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 27 of 37 Page ID #:5924



  1   summary judgment that Jet Edge is not entitled to compensatory damages in the form
  2   of lost profits or revenues from the customers. Gospel Missions of Am. v. City of Los
  3   Angeles, 328 F.3d 548, 553 (9th Cir. 2003) (“Even when there has been no cross-mo-
  4   tion for summary judgment, a district court may enter summary judgment sua sponte
  5   against a moving party . . . .”); see also Albino v. Baca, 747 F.3d 1162,1176–77 (9th
  6   Cir. 2014) (en banc). Alternatively, it is an issue for the trier of fact. Benefiel v. Exxon
  7   Corp., 959 F.2d 805, 808 (9th Cir. 1992) (recognizing that “proximate or legal causa-
  8   tion normally presents an issue for the trier of fact” but nevertheless affirming dismissal
  9   of the complaint for failure to prove causation).
10    III.      SCHEMBARI’S SECOND AMENDED COUNTERCLAIMS
11              A.    Jet Edge’s procedural arguments fail.
12                    1.    Schembari has standing because the claims are based on
                            harms unique to him and not typical of shareholders gener-
13                          ally.
14              Jet Edge asserts that Schembari does not have standing for his counterclaims
15    because the damages were suffered by Phenix Jet Hong Kong. Jet Edge’s Motion, ECF
16    No. 170 at 30 (CMECF numbering). Jet Edge appears to be targeting the tortious in-
17    terference counterclaims, but it does not expressly differentiate between the tortious
18    interference counterclaims and the Section 17200 counterclaims.
19              In any event, Schembari has standing. A stockholder has standing to sue over
20    harms to a corporation when “the injury is one to the plaintiff as a stockholder and to
21    him individually, and not to the corporation, as where the action is based on a contract
22    to which he is a party, or on a right belonging severally to him, or on a fraud affecting
23    him directly, it is an individual action.” Sutter v. Gen. Petroleum Corp., 28 Cal. 2d
24    525, 530 (1946). So, if the plaintiff-stockholder’s claim is based on a “circumstances
25    independent of the plaintiff’s status as a shareholder,” the plaintiff-stockholder’s dam-
26    ages properly include the loss to corporate assets. Id. at 530–31 (“While ordinarily a
27
28
      DM1\8931253.8                                20
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 28 of 37 Page ID #:5925



  1   stockholder may not sue individually for impairment of a corporation’s assets render-
  2   ing the stock worthless, yet here that result is merely one method of ascertaining the
  3   amount of damages suffered by Sutter. . . . The damages all flowed from the tort of
  4   defendants.”); Nelson v. Anderson, 72 Cal. App. 4th 111, 124 (1999). One such inde-
  5   pendent circumstance is where “the gravamen of the wrong” is founded on defamation.
  6   Id. at 124–25.
  7            Such is the case here. The tortious interference claims are premised on Jet Edge
  8   CEO Bill Papariella defaming Schembari. Papariella testified that he had discussions
  9   with Sino Jet representatives about “Paul . . . stealing business . . . .” Schembari SDF,
10    Nos. D37–38. Papariella also testified that he spoke with representatives at Sino Jet
11    and Metrojet about Schembari, with Papariella telling them that “Paul is a thief.”
12    Schembari SDF, No. D38. Papariella further testified that (i) he discussed this with
13    others in Asia and (ii) he tells “everybody” and “[a]nybody that will listen” that “Paul
14    is a thief.” Schembari SDF, No. D38.
15             With respect to the Section 17200 claim, Schembari was individually affected
16    because he was a party to the employment agreement. Jet Edge SUF, No. 1; Sutter, 28
17    Cal. 2d at 530–31; Hilderman v. Enea TekSci., Inc., 551 F. Supp. 2d 1183, 1197 (S.D.
18    Cal. 2008) (holding that the plaintiff did not have standing for his tortious-interference
19    claim, but allowing the plaintiff’s Section 17200 claim based on an illegal non-compete
20    to proceed). 7
21
22
23
24
      7
        See also Dowell v. Biosense Webster, Inc., 179 Cal. App. 4th 564, 575 (2009); Couch
25    v. Morgan Stanley & Co., Inc., Case No. 14-cv-10, 2015 WL 4716297 at *21 (E.D.
26    Cal. Aug. 7, 2015) (“[S]imply placing the non-compete clauses in the subject contracts
      was unfair competition that violated section 17200.”); see also Applied Materials, Inc.
27    v. Advanced Micro-Fabrication Equip. (Shanghai) Co., 630 F. Supp. 2d 1084, 1092
      (N.D. Cal. May 20, 2009); Order Denying Plaintiff’s Motion to Dismiss Counter-
28    claims, ECF No. 96 at 8.
      DM1\8931253.8                                21
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 29 of 37 Page ID #:5926



  1                   2.    The Noerr-Pennington doctrine and litigation privilege do not
                            apply here because the counterclaims are not based on litiga-
  2                         tion activity.
  3            Jet Edge asserts that the Noerr-Pennington doctrine and litigation privilege bar
  4   Schembari’s counterclaims. Jet Edge’s Motion, ECF No. 170 at 31–33 (CMECF num-
  5   bering). Jet Edge appears to be targeting the tortious interference counterclaims, but it
  6   does not expressly differentiate between the tortious interference counterclaims and the
  7   Section 17200 counterclaims.
  8            The Noerr-Pennington doctrine bars claims founded on “litigation-related activ-
  9   ities preliminary to the formal filing of the litigation . . . .” Sosa v. DIRECTV, Inc. 437
10    F.3d 923, 937 (9th Cir. 2006); Theme Productions, Inc. v. News Am. Marketing FSI,
11    546 F.3d 991, 1007 (9th Cir. 2008). Similarly, the California litigation privilege pro-
12    tects “communications that bear ‘some relation’ to an anticipated lawsuit,” such as “de-
13    mand letters and other prelitigation communications by attorneys.” Blanchard v. DI-
14    RECTTV, Inc., 123 Cal. App. 4th 903, 919 (2004).
15             These doctrines do not apply here. The Section 17200 claim is based on Jet
16    Edge’s act of inserting illegal provisions into the employment agreement. Jet Edge
17    SUF, No. 111. This is not connected with any litigation, and several cases have allowed
18    these same types of claims. See supra footnote 7 (beginning on page 21).
19              Similarly, the tortious interference claims are founded on Jet Edge CEO Bill
20    Papariella’s defamatory statements about Schembari. See Part III.A.1 (beginning on
21    page 20). This claim of defamation is meritorious. There is at least a genuine factual
22    issue as to whether these statements were intentionally untrue because (i) Jet Edge has
23    voluntarily dismissed its claim for misappropriation of trade secret against Schembari
24    (ECF No. 89) and (ii) this Opposition has shown that Jet Edge’s breach of contract
25    claim is meritless. In addition, Papariella’s defamation of Schembari’s character has
26    no relation to litigation-related activity.
27
28
      DM1\8931253.8                                 22
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 30 of 37 Page ID #:5927



  1                         a.    Even if the counterclaims are based on litigation activity,
                                  the Noerr-Pennington doctrine and litigation privilege do
  2                               not apply because Jet Edge’s litigation activity is baseless.
  3            Even if this conduct could be construed as litigation-related activity, the two
  4   doctrines still do not apply. The Noerr-Pennington doctrine does not apply when the
  5   litigation-related activity is “so baseless that the threatened litigation would fall into
  6   the ‘sham litigation’ exception.” Id. To fall within that exception, “the lawsuit must
  7   [(1)] be objectively baseless in the sense that no reasonable litigant could reasonably
  8   expect success on the merits” and (2) have a subjective intent to interfere with the busi-
  9   ness relationship. Theme Productions, Inc., 546 F.3d at 1007. The California litigation
10    privilege does not apply when the statement is not “made with a good faith belief in a
11    legally viable claim . . . .” Blanchard, 123 Cal. App. 4th at 919.
12             For the reasons already explained, there is a disputed factual issue as to whether
13    these exceptions were met based on (i) Papariella’s telling Sino Jet and Metrojet that
14    Schembari is a thief, (ii) Jet Edge’s dismissal of its trade secret claim, and (iii) the lack
15    of validity of Jet Edge’s contract claim. Thus, summary judgment is not appropriate.
16    Rock River Communications, Inc. v. Universal Music Grp., Inc., 745 F.3d 343, 352 (9th
17    Cir. 2014) (“[W]hether the sham exception to the Noerr–Pennington doctrine applies
18    is a question of fact and summary judgment on the defense is not appropriate where the
19    facts are disputed.”).
20                    3.   Schembari’s shift in his theory was substantially justified be-
21                         cause it was not learned until the deposition of Bill Papariella,
                           and it was disclosed immediately thereafter.
22
               Jet Edge contends that Schembari should not be allowed to claim damages from
23
      Phenix Jet Hong Kong’s losses on the theory that Schembari did not disclose the infor-
24
      mation in response to interrogatories or in its initial disclosure. Jet Edge’s Motion,
25
      ECF No. 170 at 33–34. This argument should be rejected.
26
27
28
      DM1\8931253.8                                 23
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 31 of 37 Page ID #:5928



  1            “[I]nformation may be introduced if the parties’ failure to disclose the required
  2   information is substantially justified or harmless.” Yeti by Molly, Ltd. v. Deckers Out-
  3   doors Corp., 259 F.3d 1101, 1106 (9th Cir. 2001); Sutrisno v. WebMD Practice Servs.,
  4   Inc., Case No. 04-cv-4516, 2005 WL 8154571 at *8 (C.D. Cal. June 30, 2005). Addi-
  5   tionally, when preclusion of the evidence will “amount[] to dismissal of a claim, the
  6   district court [i]s required to consider whether the claimed noncompliance involved
  7   willfulness, fault, or bad faith . . . .” R & R Sails, Inc. v. Ins. Co. of Pennsylvania, 673
  8   F.3d 1240, 1247 (9th Cir. 2012).
  9            Substantial justification exists when the litigant could not have “reasonably an-
10    ticipated” the relevance on the information. Wong v. Regents of the Univ. of Cal., 410
11    F.3d 1052, 1060, 1062 (9th Cir. 2005). In the cases cited in Jet Edge’s Motion, this
12    standard was not met because the “Plaintiffs were clearly aware that they had sustained
13    such damages at the time they served their responses.” Sutrisno, 2005 WL 8154571 at
14    *8; see Fresno Rock Taco, LLC v. Nat’l Sur. Corp., No. 1:11-cv-00845-SKO, 2013
15    WL 3803911 at *9–10 (E.D. Cal. July 19, 2013).
16              Here, substantial justification exists because Papariella’s defamatory statements
17    and link to the loss of Sino Jet and Metrojet business only became known on May 15,
18    2018. On this day, Defendants took the 30(b)(6) deposition of Jet Edge CEO Bill Pa-
19    pariella.       Schembari SDF, No. D56.        Papariella testified he “absolutely tell[s]
20    everybody that Paul’s a thief. . . . Anybody that will listen,” “whether they ask [him]
21    or not.” Schembari SDF, Nos. D37–D38. Papariella told this to people in Asia, in-
22    cluding Sino Jet and Metrojet. Schembari SDF, Nos. D37–D38.
23             The day after Papariella’s deposition, Schembari disclosed this theory in his
24    30(b)(6) deposition. Schembari SDF, No. D63. Schembari testified that
25
26                       Schembari SDF, No. D64. He testified
27                                                          Schembari SDF, No. D65. Schem-
28    bari then testified that “there is some proximity to certain occurrences relative to this
      DM1\8931253.8                                 24
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 32 of 37 Page ID #:5929



  1   lawsuit relative to certain actions by Jet Edge . . . . by Bill Papariella.” Schembari SDF,
  2   No. D66. Schembari specifically referenced Papariella’s actions as being Papariella’s
  3   “threats.” Schembari SDF, No. D66. Schembari also identified the witness, Andrew
  4   Svoboda. Schembari SDF, No. D67.
  5                         a.    Schembari seeks leave to add counterclaims for defama-
                                  tion and breach of contract against Jet Edge and to bring
  6                               a third-party claim against Jet Edge CEO Bill Papariella
  7                               for defamation.
  8            Schembari seeks leave to add a claim for defamation to his counterclaims. This

  9   should be granted because Schembari did not learn of this possible claim until May 15,

10    2018. See Part III.A.3 (beginning on page 23). Schembari also seeks leave to amend

11    to add a counterclaim for breach of contract: Jet Edge breached Section 7.3’s non-

12    disparagement provision, in which “Company agree[d] not to make any such [non-

13    disparaging] representations or statements regarding Employee.” Schembari SDF, No.

14    D39. Schembari additionally seeks leave to bring a third-party claim against Papariella

15    for defamation.

16             Given that Defendants just learned of this information on May 15, 2018, they

17    should be permitted to add it. By comparison, the Court permitted Jet Edge to amend

18    its complaint on August 3, 2018, when Jet Edge had learned the information on March

19    5, 2018. ECF No. 166 at 6–7.

20             B.     Jet Edge’s substantive arguments fail.
21                    1.   There is a material factual dispute as to whether Jet Edge
                           knew of the relationships with the potential customers.
22
               Jet Edge contends that the tortious interference claims should fail on the theory
23
      that there is no evidence that Jet Edge knew of the relationships with the potential cus-
24
      tomers (Sino Jet, Metrojet, HK Bellawings, and Hong Kong Jet). Jet Edge’s Motion,
25
      ECF No. 170 at 35–36.
26
27
28
      DM1\8931253.8                                25
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 33 of 37 Page ID #:5930



  1            This argument should be rejected because there is a material factual dispute on
  2   this issue. The facts show that Papariella knew of Schembari’s (or Schembari’s enti-
  3   ties’) business relationships with these customers. Papariella testified that he had dis-
  4   cussions with Sino Jet representatives about “Paul . . . stealing business . . . .” Schem-
  5   bari SDF, Nos. D37–D38. Papariella also testified that he spoke with representatives
  6   at Sino Jet and Metrojet about Schembari, with Papariella telling them that “Paul is a
  7   thief.” Schembari SDF, Nos. D37–D38. Papariella further testified that he discussed
  8   this with others in Asia that he tells “everybody” and “[a]nybody that will listen” that
  9   “Paul is a thief.” Schembari SDF, Nos. D37–D38.
10             Papariella now attempts to contradict his deposition testimony. Papariella’s dec-
11    laration submitted with Jet Edge’s Motion testifies that Papariella never had any con-
12    versations with Sino Jet or Metrojet regarding “Mr. Schembari, ACP Jet Charters, . . .
13    Phenix Jet Hong Kong, or Andrew Svoboda.” Declaration of Bill Papariella, ECF No.
14    174 at ¶ 18. This directly contradicts Papariella’s deposition testimony. So, it should
15    be disregarded. Kennedy v. Allied Mut. Ins. Co., 952 F.2d 262, 266 (9th Cir. 1991)
16    (“The general rule in the Ninth Circuit is that a party cannot create an issue of fact by
17    an affidavit contradicting his prior deposition testimony.”).
18             One day after the motion for summary judgment deadline, Jet Edge submitted
19    an amended Papariella declaration. In this declaration, Papariella again contradicted
20    his prior testimony. Papariella no longer denies having any communications with Sino
21    Jet or Metrojet regarding Schembari, ACP Jet, Phenix Jet Hong Kong, or Andrew Svo-
22    boda. Amended Declaration of Bill Papariella, ECF No. 180 at ¶ 7. Instead, he denies
23    only having a conversation with them regarding Schembari, ACP Jet, or Andrew Svo-
24    boda “with respect to Phenix Jet Hong Kong.” Id. The Court should disregard this
25    declaration because Papariella’s repeated flip-flopping on his testimony shows a lack
26    of any credibility. Cleveland v. Policy Mgmt. Sys. Corp., 526 U.S. 795, 806 (1999)
27    (Courts “have held with virtual unanimity that a party cannot create a genuine issue of
28    fact sufficient to survive summary judgment simply by contradicting his or her own
      DM1\8931253.8                                26
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 34 of 37 Page ID #:5931



  1   previous sworn statement (by, say, filing a later affidavit that flatly contradicts that
  2   party’s earlier sworn deposition) without explaining the contradiction or attempting to
  3   resolve the disparity.”).
  4            Even if the amended declaration is allowed, Papariella now creates an inference
  5   of admission (by refusing to deny) that he had conversations with Sino Jet, Metrojet,
  6   HK Bellawings, and Hong Kong Jet regarding Schembari, ACP Jet, and Svoboda. See
  7   id. Additionally, Papariella’s deposition testimony shows that he knew Schembari was
  8   attempting to “steal[] business” and enter relationships with at least Sino Jet and Met-
  9   rojet. Schembari SDF, Nos. D37–38.
10             It does not matter that the there is no evidence showing that Papariella’s discus-
11    sions expressly referenced Phenix Jet Hong Kong. Jet Edge does not dispute Schem-
12    bari’s ownership of Phenix Jet Hong Kong, and corporations act only through people.
13    United States v. Graf, 610 F.3d 1148, 1156 (9th Cir. 2010); Snukal v. Flightways Man-
14    ufacturing, Inc., 23 Cal. 4th 754, 782 (2000).
15                  2.    Jet Edge committed an independently wrongful act.
16             The Motion asserts that Jet Edge cannot be liable for interference with prospec-
17    tive economic advantage on the theory that Jet Edge did not commit an independently
18    wrongful act. Jet Edge’s Motion, ECF No. 170 at 36–37.
19             This contention is incorrect. Jet Edge did commit an independently wrongful
20    act: defamation. Independently wrongful acts “encompass[] ‘unethical business prac-
21    tices’ such as defamation.” Sprewell v. Golden State Warriors, 266 F.3d 979, 991 (9th
22    Cir. 2001); Lee Myles Assocs. Corp. v. Paul Rubke Enters., Inc., 557 F. Supp. 2d 1134,
23    1140 (S.D. Cal. 2008) (“The element of independently wrongful conduct is satisfied
24    because the claim is based on defamation, a tort independent of the alleged interfer-
25    ence.”); Youngevity Int’l Corp. v. Smith, Case No. 16-cv-704, 2017 WL 6389776 at *8
26    (S.D. Cal. Dec. 13, 2017) (“Defamation is an independently wrongful act.”); Savage v.
27    Pac. Gas & Elec. Co., 21 Cal. App. 4th 434, 450 (1993) (“Unlawful means include
28    defamation and other forms of tortious conduct.”).
      DM1\8931253.8                                 27
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 35 of 37 Page ID #:5932



  1            There is a disputed material factual issue on whether Jet Edge committed an
  2   independently wrongful act in the form of defamation. “[A] private person need prove
  3   only negligence (rather than malice) to recover for defamation.” Brown v. Kelly Broad-
  4   casting Co., 48 Cal. 3d 711, 742 (1989).
  5            As set forth above, (1) Jet Edge’s CEO told anybody who would listen that
  6   Schembari is a thief, (2) Jet Edge has dropped its trade secret claim, and (3) there is a
  7   substantial question on the validity of Jet Edge’s contract claim. This is enough to
  8   show a material factual issue on whether Jet Edge negligently defamed Schembari.
  9   Savage v. Pac. Gas & Elec. Co., 21 Cal. App. 4th 434, 449 (1993) (denying summary
10    judgment on a claim for interference with prospective economic advantage based on a
11    wrongful act of defamation because it was possible for a jury to “infer culpable intent”
12    for defamation); see Hutchinson v. Proxmire, 443 U.S. 111, 120 n.9 (1979) (“The proof
13    of ‘actual’ malice [for a defamation claim] calls a defendant’s state of mind into ques-
14    tion . . . and does not readily lend itself to summary disposition.”). 8
15                    3.   The Section 17200 claim is based on Jet Edge’s unlawful act of
                           using an illegal employment agreement.
16
                The Motion seeks entry of judgment on the Section 17200 claim on the theory
17
      that (i) Schembari is no longer basing it on the inclusion of the illegal provisions in
18
      Schembari’s Jet Edge employment agreement and (ii) the counterclaim is actually
19
      based on the filing of this lawsuit. Motion, ECF No. 170 at 37–38 (CMECF number-
20
      ing). The Motion cites no evidence in support of this.
21
                Nor is there any. The operative section 17200 counterclaim is based on illegal
22
      provisions in the employment agreement. Second Amended Counterclaims, ECF No.
23
      91 ¶¶ 167–72, 178–81. Defendants reiterated this basis in response to an interrogatory.
24
      Jet Edge SUF, No. 111. Additionally, Defendants’ Motion for Summary Judgment
25
26    8
        See also Christensen v. Georgia-Pacific Corp., 279 F.3d 807 (907) (“Summary judg-
27    ment is rarely granted in negligence cases because the issue of ‘whether the defendant
      acted reasonably is ordinarily a question for the trier of fact.’” (internal brackets omit-
28    ted)).
      DM1\8931253.8                                28
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 36 of 37 Page ID #:5933



  1   shows that Schembari is basing the counterclaim on the illegal employment agreement.
  2   Defendants’ Motion for Summary Judgment, ECF No. 167-1 24 (CMECF numbering).
  3   A practice of using illegal employment agreements is a permissible foundation of a
  4   Section 17200 claim. See supra footnote 7 (beginning on page 21). Indeed, this Court
  5   (per Judge Birotte) has already found that Schembari has stated a claim for violation of
  6   section 17200 based on Jet Edge’s act of including illegal non-competition provisions
  7   in its employment agreement with Schembari. ECF No. 96 at 6–8.
  8                  4.   Jet Edge’s conduct harmed Schembari.
  9            Jet Edge contends that Schembari does not have any evidence of harm. Jet
10    Edge’s Motion, ECF No. 170 at 34–35 (CMECF numbering).
11             Jet Edge’s assertion is incorrect. With respect to the interference with economic
12    advantage claims, Phenix Jet Hong Kong
13                                             Schembari SDF, No. D68. Ultimately,
14                                                                             Schembari SDF,
15    No. D69. These
16                                                                             Schembari SDF,
17    No. D70.
18             With respect to the Section 17200 claim, this Court has already recognized that
19    Schembari has standing to bring this claim and has suffered an actual economic injury
20    from Jet Edge’s conduct. Order Denying Plaintiff’s Motion to Dismiss Counterclaims,
21    ECF No. 96 at 8–9. The evidence demonstrates this conclusively. The 17200 claim is
22    founded on the illegal provisions in Jet Edge’s employment agreement. See Part III.B.3
23    (beginning on page 28).
24             Jet Edge’s attempt to enforce these illegal provisions has harmed Schembari in
25    several ways. Among other harms, Schembari has incurred legal fees in defending
26    against Jet Edge’s attempted enforcement of the illegal provisions. Schembari SDF,
27    Nos. D40–D41; Robinson v. U-Haul Co. of California, 4 Cal. App. 5th 304, 318
28
      DM1\8931253.8                                29
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:17-cv-00420-JGB-KS Document 190 Filed 08/20/18 Page 37 of 37 Page ID #:5934



  1   (2016). 9 Schembari had to fly to Los Angeles (twice) and sit for three separate days of
  2   depositions noticed by Jet Edge. Schembari SDF, No. D44. Jet Edge’s attempt to
  3   enforce these illegal provisions has also hindered employee morale and hindered De-
  4   fendants’ ability to recruit pilots. Schembari SDF, Nos. D42–D43. Additionally, Jet
  5   Edge’s “strategic use of litigation and threatened litigation to achieve [Jet Edge’s] an-
  6   ticompetitive purpose” provides Schembari with standing. Robinson, 4 Cal. App. 5th
  7   at 318.
  8            Thus, Schembari’s harm is directly related to Jet Edge’s illegal conduct. Several
  9   courts have recognized that employees have standing to challenge the former em-
10    ployer’s illegal contracts. See supra footnote 7 (beginning on page 21).
11    IV.      CONCLUSION
12             For the foregoing reasons, Jet Edge’s Motion for Partial Summary Judgment
13    should be denied. In addition, Defendants should be granted summary judgment in
14    their favor on Jet Edge’s cause of action for breach of contract. Defendants also should
15    be granted leave to amend their counterclaim to assert claims for defamation and breach
16    of contract against Jet Edge and to assert a third-party claim against Jet Edge CEO Bill
17    Papariella for defamation.
18
19
      Dated: August 20, 2018                                 DUANE MORRIS LLP
20
                                                        s/ Dan Terzian
21
                                                        Dan Terzian
22
23
24
25
26    9
        Schembari can rely on payments by the companies owned by him because the claim
27    “is based on a contract to which [Schembari] is a party,” so it is based on a “circum-
      stances independent of the plaintiff’s status as a shareholder.” Sutter, 28 Cal. 2d at
28    530–31.
      DM1\8931253.8                                30
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
